              CASE 0:19-cv-02112-JNE-LIB Doc. 19 Filed 05/01/20 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA

Scott Lundberg,                                          Court File No. 19-cv-2112 (JNE/LIB)
                                        Plaintiff,
         vs.                                                        PROPOSED ORDER
Sid Harvey Industries, Inc.,
                                      Defendant.


         This matter is before the Court upon the Parties’ Stipulated Motion for Approval of

Settlement and Dismissal of Claims with Prejudice (“the Stipulation”). Based upon a review of the

files, records, and proceedings herein, IT IS HEREBY ORDERED that:

         1.        The Court finds the settlement set forth in the Stipulation to be a fair and reasonable

resolution of a bona fide dispute over FLSA provisions;

         2.        The Stipulation is GRANTED; and

         3.        This action is DISMISSED WITH PREJUDICE.

LET JUDGMENT BE ENTERED ACCORDINGLY.


          Dated: ________________                         BY THE COURT:


                                                  _____________________________________
                                                  Joan N. Erickson
                                                  United States District Court Judge

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